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                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

  IN RE:                                   )
                                           )         Case No. 3:19-bk-30822
  TAGNETICS INC.,                          )
                                           )         Chapter 7 (Involuntary)
                     Alleged Debtor.       )
                                           )         JUDGE GUY R. HUMPHREY



                       NOTICE OF WITHDRAWAL OF MOTION


       Notice is hereby given that the Motion of McCarthy, Lebit, Crystal & Liffman, Co. LPA

and Robert R. Kracht, Esq. for Leave to Withdraw as Counsel (doc. 37) is hereby withdrawn.



                                           /s/ Robert R. Kracht
                                           Robert R. Kracht (0025574)
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on July 2, 2019, a copy of the foregoing was served (i) electronically
on the date of filing through the Court’s ECF System on all ECF participants registered in this
case at the email address registered with the court and (ii) electronically by email on co-counsel
for Tagnetics, Inc., Stephen Stern, Esq. (Stern@kaganstern.com), Douglas Draper, Esq.
(ddraper@hellerdraper.com) and Leslie Collins, Esq. (lcollins@hellerdraper.com), and (iii) by
ordinary U.S. Mail as addressed to:

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                                                      /s/ Robert R. Kracht
                                                      Robert R. Kracht (#0025574)




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